                          United States District Court
                        Western District of North Carolina
                               Statesville Division

           Benjamin Reetz                            JUDGMENT IN CASE

             Plaintiff(s),                         5:18-cv-00075-KDB-DCK

                 vs.

     Lowe’s Companies, Inc, et al

            Defendant(s).



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 12, 2021 Orders.




                                               October 12, 2021




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